USDC IN/ND case 2:14-cv-00345-RL-PRC document 26 filed 01/27/15 page 1 of 2


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

THE ESTATE OF EMILY ANN                   )
HARRISON, Deceased, by                    )
Maranda Campbell,                         )
Personal Representative and               )
M.R.H., a minor, by her                   )
Guardians, Alice Harrison and             )
Maranda Campbell,                         )
                                          )
Plaintiffs,                               )
                                          )
vs.                                       )      CAUSE NO. 2:14-CV-345
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
Defendant.                                )

                                   ORDER

        This matter is before the Court on Defendant’s Motion to

Dismiss, filed by Defendant on January 16, 2015 (DE #22) and the

Stipulation to Dismiss, filed by Plaintiffs on January 23, 2015 (DE

#24).     For the reasons set forth below, the Motion to Dismiss (DE

#22) is GRANTED, and the Stipulation to Dismiss (DE #24) is DENIED

AS MOOT.    Plaintiffs’ claims are DISMISSED WITHOUT PREJUDICE.         The

Clerk is DIRECTED to close this case.

        Defendant, the United States of America, has filed a motion to

dismiss arguing that Plaintiffs’ medical malpractice lawsuit must

be    dismissed   for   failure   to   exhaust   administrative   remedies.

Defendant points out that Plaintiffs submitted their administrative

claim to the U.S. Department of Health and Human Services (“HHS”)
USDC IN/ND case 2:14-cv-00345-RL-PRC document 26 filed 01/27/15 page 2 of 2


on   July    22,    2014.      (Comp.   ¶      7.)      The   lawsuit   was   filed

approximately three months later on September 22, 2014.                   (See DE

#1.)     The filing was prior to the either a denial by HHS or the

expiration of the six month adjudicatory period.                 (See 28 U.S.C. §

2675(a).)        Plaintiffs have filed a stipulation to dismiss noting

that they have reviewed Defendant’s motion and agree with its

substance.       (DE #24.)

       Therefore, after due consideration, the Court GRANTS the

Motion to Dismiss (DE #22). The Stipulation to Dismiss (DE #24) is

DENIED      AS   MOOT.       Plaintiffs’       claims   are   DISMISSED   WITHOUT

PREJUDICE.       The Clerk is DIRECTED to close this case.



DATED: January 27, 2015                        /s/RUDY LOZANO, Judge
                                               United State District Court




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